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 5   MIGUEL SEPULVEDA FELIX
 6

 7                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,            ) Case No.: 1:09-CR-0317-AWI
10                                        )
                Plaintiff,                ) ORDER RE: EXONERATION OF BOND
11                                        ) AND RECONVEYANCE OF REAL
         vs.                              ) PROPERTY
12                                        ) Deed of Trust 2009-0087052-00
     MIGUEL SEPULVEDA FELIX,              )
13                                        )
                Defendant                 )
14                                        )
15

16

17   On September 3, 2009 a Deed of Trust No. 2009-0087052-00 and
18   Promissory Note were posted by Calletana Felix on behalf of
19   Defendant, Miguel Sepulveda Felix. On January 23, 2013,
20   defendant self-surrendered to the custody of the Federal
21   Correctional Institution Sheridan, Oregon. At this time, Request
22   is hereby made that the following property be reconveyed as
23   follows:
24   CALLETANA FELIX single tenant.
25

26   Dated this February 5, 2013
                                                        /s/ ROBERT L. FORKNER __
27                                                      ROBERT L. FORKNER
                                                        Attorney for Defendant
28
                          [PROPOSED] ORDER OF RECONVEYANCE - 1
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 7                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9   UNITED STATES OF AMERICA,                             ) Case No.: 1:09-CR-0317-AWI
                                                           )
10                               Plaintiff,                ) ORDER RE: EXONERATION OF BOND
                                                           ) AND RECONVEYANCE OF REAL
11                         vs.                             ) PROPERTY
                                                           ) Deed of Trust 2009-0087052-00
12   MIGUEL SEPULVEDA FELIX,                               )
                                                           )
13                               Defendant                 )
                                                           )
14

15
                                                         ORDER
16

17
     Accordingly, IT IS HEREBY ORDERED that the property bond in the
18
     above-captioned case be exonerated and title to the real
19
     property reconveyed to the owner, Calletana Felix. It is further
20
     ordered that all correspondence regarding reconveyance of the
21
     posted property be sent to Mrs. Calletana Felix at the address
22
     previously provided to the court.
23

24

25
     IT IS SO ORDERED.
26

27   Dated: February 12, 2013
     DEAC_Signature-END:
                                                        SENIOR DISTRICT JUDGE
28
                                           [PROPOSED] ORDER OF RECONVEYANCE - 2
